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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS




ARTHUR CARSON, PLAINTIFF

V.                                                    CASE NO 4:19 CV-256-BSM

ROGER LACY, ET AL.DEFENDANTS.




                   PLAINTIFF'S OPPOSITION TO DEFENDANT'S MOTION
                         FOR STAY OF RESPONSE DEADLINES


 Comes Now the Plaintiff, Arthur Garson, and would h"'ke to Show this Court the following:

The Defendant's Motion to stay is nothing more than a way for Defendant's Counsel to

Have the Court's doors closed to Plaintiff, to disregard Plaintiff's Right To Plead and Manage

His case, pursuant to 28 U.S.C. 1654.

1). The Defendant's are false in the claim Plaintiff would not oppose a stay.this

Is Ethically questionable by Counsel to make such statement.


                                  PROCEDURAL FAIRNESS:

 Access to Court entails "Adequate, Effective.and Meaningful Access", Bounds V. Smith,

430 U.S.817, 97 S.Ct 1491(1977). Plaintiffs Rights are being chilled by Counsel's

Attempts to change the process on Plaintiff.

2). To stay this process would give the appearance of bias, contrary to the Model Code-

Of Judicial Conduct Canon 2, Rule 2.3 cmt. 2 (am Bar Ass'n 2011).

                                                (1)
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     An Opportunity for a Fair Hearing with requirements to remain impartial are fundamental

    Procedural accommodation that would provide a diligent Self-Represented Litigant

    Acting in good-faith the opportunity to have His case fairly heard.

     Nevertheless, There exist dispositive claims in this matter, Plaintiff ask this Court

    To Resolve in His Motion for Summary Judgment filed in this matter.

    RESPECTFULLY SUBMITTED

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                . . .~_.;;...._
                     .         ______. DATED THIS 16TH DAY OF DECEMBER, 2019.
    Arthur Carson




                                      CERTIFICATE OF SERVICE

     I, Arthur Carson, certify that a copy of the foregoing Motion is hereby mailed and

    Emailed to: Abtin Mehdizadegan, Attorney for Defendants, this 16th Day of December

    2019.

     I swear the foregoing statements are true and correct.


    Arthur Carson




                                                     (2)
